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                                                                                             Michael Cukor

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                                               April 17, 2025

   Hon. Jamel K. Semper
   Martin Luther King Jr. Courthouse
   Courtroom: PO 03
   50 Walnut Street
   Room 4040, Courtroom 4C
   Newark, New Jersey 07101


   RE:            Vision Industries Group, Inc. v. ACU Plasmold, Inc.
                  Case No.: 2:18-cv-06296-JKS-CLW

   Dear Judge Semper:

   We represent Plaintiff, Vision Industries Group, Inc., and write pursuant to Your Honor’s
   Order at the April 15 conference.

   Attached please find the following updated exhibit files that now contain the certified
   translations: P4, P105, P106, P107, P108, P153, P167, P169, P170, P179, P225, P227,
   and P229.

   All of these certified translations were provided to ACU on March 5, 2025. ACU has not
   provided any written objections.

   We are also sending a hard copy of the updated exhibits.


                                                Respectfully,



                                                Michael Cukor
